     Case 4:05-cr-50043-TGB-WC ECF No. 13, PageID.34 Filed 07/14/05 Page 1 of 2
O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                     UNITED STATES DISTRICT COURT
                       EASTERN                                   District of                                MICHIGAN
        UNITED STATES OF AMERICA
                   V.                                                         ORDER OF DETENTION PENDING TRIAL
       QUENTIN LAMAR FITZGERALD,                                           Case Number: 05-CR-50043-2FL
                         Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                            Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G stat
        or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
        G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
        G an offense for which the maximum sentence is life imprisonment or death.
        G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                    .
        G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
            § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
        for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
      safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                              Alternative Findings (A)
X (1) There  is probable  cause  to believe that the defendant has committed an offense
           for which a maximum term of imprisonment of ten years or more is prescribed in 21U.S.C. 801 et.seq.                                    .
      G under 18 U.S.C. § 924(c).
X (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
      the appearance of the defendant as required and the safety of the community.
                                                              Alternative Findings (B)
G (1) There  is a serious risk that the defendant  will not appear.
G (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                           Part II—Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by    X clear and convincing evidence G a prepon-
derance of the evidence that

detention is appropriate in this matter. The information presented at the hearing reveals that the defendant has two previous felony convictions
in state court for possession with intent to deliver cocaine. It further appears that he has a conviction in Berrien County for the offense of
possession of marijuana. The record also indicates that the defendant violated the terms of his state court probation involving both of his cocaine
convictions. Further, he has a bench warrant pending for failure to pay his state court fines with respect to the possession of marijuana charge.
Based upon the foregoing information, the defendant has exhibited a pattern of continued criminal activity as well as a disregard for the
court based upon his violations of the terms of his probation. I find that based upon the nature of the present charges combined with the defend-
ant’s previous criminal record, that he poses a danger to the community. Accordingly, the defendant shall be detained without bond in this
matter, pending trial.

                                                    Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.


Date: July, 14, 2005
                                                                              s/ Wallace Capel, Jr.


                                                                          WALLACE CAPEL, JR. U.S. MAGISTRATE JUDGE
                  Case 4:05-cr-50043-TGB-WC ECF No. 13, PageID.35 Filed 07/14/05 Page 2 of 2
            O AO 472 (Rev. 12/03) Order of Detention Pending Trial
                                                                                                               Name and Title of Judge
            *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
            Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).



                                                                        CERTIFICATE OF SERVICE

I hereby certify that on July 14, 2005 , I electronically filed the foregoing paper with the Clerk of the Court using the ECF system which will send such notification of such
filing to the following: Mark C. Jones, , Assistant U.S. Attorney, and I hereby certify that I have hand delivered/ mailed by United States Postal Service/hand delivered the paper
to the following non-ECF participants: Daniel G. Van Norman, 350 N.. Court, Ste. 208, Lapeer, MI United States Marshal Service, 600 Church St., Flint, MI, 48502, Pretrial
Services Officer, 600 Church St., Flint, MI 48502.

                                                                                 s/James P. Peltier
                                                                                 James P. Peltier
                                                                                 Courtroom Deputy Clerk
                                                                                 U.S.District Court
                                                                                 600 Church St.
                                                                                 Flint, MI 48502
                                                                                  810-341-7850
